Case 5:23-cv-00214-H-BV             Document 74        Filed 02/25/25        Page 1 of 14      PageID 759



                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                     LUBBOCK DIVISION

  ROMAN ANGELO ROYAL,

             Plaintiff,

  v.                                                                  No. 5:23-CV-214-H-BV

  SCURRY COUNTY, et al.,

             Defendants.
                    ORDER ADOPTING FINDINGS, CONCLUSIONS, AND
                    RECOMMENDATIONS OF THE MAGISTRATE JUDGE
                    AND OVERRULING THE PLAINTIFF’S OBJECTIONS
           Before the Court are the Findings, Conclusions, and Recommendations (FCR) of

 United States Magistrate Judge Amanda ‘Amy’ R. Burch (Dkt. No. 65) and the plaintiff’s

 objections (Dkt. No. 68). Judge Burch recommends granting the motion to dismiss (Dkt.

 No. 51) filed by the City of Snyder and Chief Haggard under Federal Rule of Civil

 Procedure 12(b)(6) because Royal has failed to adequately plead facts sufficient to support

 his claims, and the excessive-force claim against Chief Haggard was brought in the wrong

 capacity. Dkt. No. 65 at 2. The plaintiff timely filed objections to the FCR. Dkt. No. 68.

           The Court overrules the defendant’s objections and adopts the FCR in full. The

 plaintiff has failed to adequately plead any claim against Chief Haggard in his individual

 capacity. Further, the plaintiff’s complaint lacks sufficient factual matter to support his

 municipal-liability claim or his claim under the Americans with Disabilities Act (ADA) and

 the Rehabilitation Act (RA).1


 1
     “The language in the ADA generally tracks the language set forth in the RA.” Delano-Pyle v.
     Victoria County, 302 F.3d 567, 574 (5th Cir. 2002). As a result, “[j]urisprudence interpreting either
     section is applicable to both.” Id. (citation omitted). The Court therefore refers throughout this
     Order only to the ADA, but the analysis applies to both the ADA and the RA equally.
Case 5:23-cv-00214-H-BV        Document 74       Filed 02/25/25      Page 2 of 14     PageID 760



 1.     Factual and Procedural Background

        In evaluating the defendants’ motion to dismiss, the Court accepts as true the

 relevant facts alleged in Royal’s third amended complaint, as it must at this procedural

 stage. See Richardson v. Axion Logistics, LLC, 780 F.3d 304, 306 (5th Cir. 2015). Royal has

 paranoid schizophrenia. Dkt. No. 45 at 23. Royal had an outstanding misdemeanor

 warrant issued by Mitchell County, Texas. Id. at 3, 7. In November 2022, officers in the

 Snyder Police Department located his vehicle and conducted a traffic stop. Id. at 3, 4.

 Department officers attempted to verify Royal’s identity, but Royal “did not wish to be

 identified [or] cooperate.” Id. at 4. After nearly 40 minutes, in an attempt to get Royal out

 of the vehicle, an officer struck a hole in the driver’s side window with a baton and stuck his

 hand through the glass, pepper-spraying Royal. Id. Royal did not exit the vehicle and

 instead pressed the gas pedal and escaped (the daytime evading). Id. The then-police chief,

 Chief Haggard, began shooting at the vehicle as it left the scene. Id. at 7.

        Royal evaded officers for several hours. Id. at 9. Meanwhile, Chief Haggard ordered

 a helicopter to search for Royal. Id. at 6. Officers located Royal in “a large tractor,” which

 Royal had driven “into the middle of a large moat” on another person’s land (the nighttime

 evading). Id. at 8–9. Officers shot at the tractor using “glass-breaker bullets” or “rubber

 bullets,” during which Royal lost a tooth “despite the fact he had his hands up.” Id.

 Officers ordered Royal to exit the tractor and swim to the shore. Id. at 8. Once officers

 detained Royal, they sent him to a local hospital for care. Id.

        Royal was charged with three counts of aggravated assault of a peace officer and two

 counts of evading arrest stemming from each of the daytime evading and the nighttime




                                              –2–
Case 5:23-cv-00214-H-BV            Document 74       Filed 02/25/25       Page 3 of 14      PageID 761



 evading. Id. at 4, 7. Royal was convicted of the daytime-evading charge, and the nighttime-

 evading charge was dismissed. Id.

           Royal brought suit against the City of Snyder and Chief Haggard2 for (1) failure to

 accommodate and disability discrimination under the ADA, and (2) excessive use of force

 and municipal liability for maintenance of unconstitutional policies and failure to train, in

 violation of the Fourth Amendment, under 42 U.S.C. § 1983. See Dkt. No. 45. The ADA

 claim was brought against Chief Haggard in both his official and individual capacities,

 while the excessive-force and municipal-liability claims were brought against Chief Haggard

 in only his official capacity. See id. at 25, 27. The City and Chief Haggard moved to dismiss

 Royal’s complaint for failure to state a claim. Dkt. No. 51. Judge Burch entered an FCR

 recommending that the Court grant the City and Chief Haggard’s motion to dismiss

 because: (1) the plaintiff has not pled facts adequate to establish a plausible claim for relief

 under the ADA; (2) the plaintiff’s claim of municipal liability is conclusory and devoid of

 factual support; and (3) the plaintiff has failed to plead an excessive-force claim against

 Chief Haggard in his individual capacity. Dkt. No. 65 at 2. Royal filed objections to the

 FCR within 14 days. See Dkt. No. 68.

 2.        Legal Standards

           A.      Review of the Magistrate Judge’s Recommendations

           When a party files objections to a Magistrate Judge’s recommendations, the Court

 must review those objected-to portions de novo. Kreimerman v. Casa Veerkamp, S.A. de C.V.,

 22 F.3d 634, 646 (5th Cir. 1994); 28 U.S.C. § 636(b)(1). However, as for portions where no



 2
     Royal also brought claims against Scurry County and the Scurry County jail (see Dkt. No. 45), but
     those entities are not parties to the instant motion to dismiss. See Dkt. No. 51.


                                                   –3–
Case 5:23-cv-00214-H-BV         Document 74        Filed 02/25/25       Page 4 of 14      PageID 762



 specific objections are filed within the 14-day period, the Court reviews the Magistrate

 Judge’s findings and recommendations only for plain error. Serrano v. Customs & Border

 Patrol, U.S. Customs & Border Prot., 975 F.3d 488, 502 (5th Cir. 2020).

        B.      Motion to Dismiss under Rule 12(b)(6)

        A complaint must contain “a short and plain statement of the claim showing that the

 pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Therefore, a plaintiff must allege

 sufficient factual matter, accepted as true, to “state a claim to relief that is plausible on its

 face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007). A plaintiff’s claim “has

 facial plausibility when the plaintiff pleads factual content that allows the court to draw the

 reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

 Iqbal, 556 U.S. 662, 678 (2009). This “plausibility standard is not akin to a ‘probability

 requirement,’ but it asks for more than a sheer possibility that a defendant has acted

 unlawfully.” Id. (quoting Twombly, 550 U.S. at 556). If a complaint “pleads facts that are

 ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between possibility

 and plausibility of entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557).

        Defendants can challenge the sufficiency of a complaint through a motion to dismiss

 under Federal Rule of Civil Procedure 12(b)(6). In resolving a motion to dismiss, a court

 must “accept all well-pleaded facts as true and view those facts in the light most favorable to

 the plaintiff.” Richardson v. Axion Logistics, LLC, 780 F.3d 304, 306 (5th Cir. 2015) (cleaned

 up) (quoting Bustos v. Martini Club, Inc., 599 F.3d 458, 461 (5th Cir. 2010)). However, this

 tenet does not extend to legal conclusions. Iqbal, 556 U.S. at 678. Further, “[t]hreadbare

 recitals of the elements of a cause of action, supported by mere conclusory statements, do

 not suffice.” Id.



                                                –4–
Case 5:23-cv-00214-H-BV        Document 74        Filed 02/25/25     Page 5 of 14     PageID 763



 3.     Analysis

        A.     The Court has found no plain error in the unobjected-to portions of the
               FCR and thus adopts those portions of the FCR.

        The FCR determined that because Royal has brought claims under 42 U.S.C. § 1983

 against both the City and Chief Haggard in his official capacity, the official-capacity claims

 are redundant and should be dismissed. Dkt. No. 65 at 10. The FCR also concluded that

 Royal’s excessive-force claim fails against Chief Haggard for the same reason, and the

 excessive-force claim against the City fails because a city is not liable under section 1983

 under a respondeat-superior theory. Id. at 11–12. Finally, the Magistrate Judge declined to

 consider Royal’s untimely filed exhibits in support of his objection to the motion to dismiss

 because the exhibits presented were not central to his claims and therefore not properly

 considered on a motion to dismiss. Id. at 8–9.

        Royal appears to agree that the official-capacity claims against Chief Haggard were

 properly dismissed, stating in his objections that “[m]oreover, admitted, Royal has sued

 Haggard in the wrong capacity, to the extent he intends to assert an excessive force claim

 against Haggard personally. Plaintiff has no objection thereto [sic].” Dkt. No. 68 at 6. In

 any case, Royal did not specifically object to any of these portions of the FCR. See generally

 id.

        The Court has reviewed these unobjected-to portions of the FCR for plain error.

 Finding none, the Court accepts and adopts those portions of the FCR.

        B.     Royal fails to state a municipal-liability claim.

        “To establish municipal liability under § 1983, a plaintiff must show that (1) an

 official policy (2) promulgated by the municipal policymaker (3) was the moving force

 behind the violation of a constitutional right.” Trammell v. Fruge, 868 F.3d 332, 344 (5th Cir.



                                              –5–
Case 5:23-cv-00214-H-BV        Document 74        Filed 02/25/25      Page 6 of 14      PageID 764



 2017) (quoting Peterson v. City of Fort Worth, 588 F.3d 838, 847 (5th Cir. 2009)). “To proceed

 beyond the pleading stage, a complaint’s description of a policy or custom and its

 relationship to the underlying constitutional violation . . . cannot be conclusory; it must

 contain specific facts.” Peña v. City of Rio Grande City, 879 F.3d 613, 622 (5th Cir. 2018)

 (internal quotation marks omitted) (ellipses original). The FCR recommends dismissal of

 the municipal-liability claim as against the City and Chief Haggard because Royal has failed

 to plausibly allege that there was any practice or policy that can form the basis of Royal’s

 municipal-liability claim. See Dkt. No. 65 at 16–23.

        First, Royal presents various “objections” that merely recite—nearly verbatim but for

 minor, insignificant wording and formatting changes—large portions of the FCR. Compare

 Dkt. No. 65 at 12–13, 15, with Dkt. No. 68 at 15–16; compare Dkt. No. 65 at 13–14, with

 Dkt. No. 68 at 16–17; compare Dkt. No. 65 at 14–15, with Dkt. No. 68 at 17–18; compare

 Dkt. No. 65 at 19–20, with Dkt. No. 68 at 20–21. However, an objection must be

 “sufficiently specific to put the district court on notice of the urged error.” Williams v. K & B

 Equipment Co., 724 F.2d 508, 511 (5th Cir. 1984). Thus, “[f]rivolous, conclusive[,] or

 general objections need not be considered by the district court.” Battle v. U.S. Parole

 Comm’n, 834 F.2d 419, 421 (5th Cir. 1987) (quoting Nettles v. Wainwright, 677 F.2d 404, 410

 n.8 (5th Cir.1982) (en banc)). These “objections” by Royal merely inform the Court that

 Royal disagrees with some unspecified finding or conclusion within each section recited by

 Royal. They do not put the Court on notice of the specific error that Royal urges. See

 Williams, 724 F.2d at 511. The Court therefore overrules those “objections” because they

 merely repeat the portions of the FCR with which Royal disagrees rather than explaining

 the basis of Royal’s objection.



                                               –6–
Case 5:23-cv-00214-H-BV        Document 74       Filed 02/25/25      Page 7 of 14        PageID 765



        Next, Royal does raise disagreements going beyond recitation of the FCR that

 contest the FCR’s determination that Royal failed to state a municipal-liability claim based

 on either an unconstitutional policy or a failure to train. However, even construing those

 disagreements as objections and conducting de novo review, the Court overrules each

 objection.

               i.      Royal’s objection that he has stated a claim based on the
                       single-decision exception or ratification are overruled.

        For a municipal-liability clam, the plaintiff must ultimately show that the

 municipality’s policy either is itself unconstitutional or was “‘adopted with deliberate

 indifference to the known or obvious fact’ that a specific constitutional violation would

 follow.” Liggins v. Duncanville, 52 F.4th 953, 955 (5th Cir. 2022) (quoting Webb v. Town of

 Saint Joseph, 925 F.3d 209, 219 (5th Cir. 2019)). A “policy can be shown through evidence

 of an actual policy, regulation, or decision that is officially adopted and promulgated by

 lawmakers or others with policymaking authority.” Valle v. City of Houston, 613 F.3d 536,

 542 (5th Cir. 2010). In addition, the plaintiff may show that there is a “persistent,

 widespread practice of [municipal] officials or employees” that “is so common and

 well-settled as to constitute a custom that fairly represents municipal policy.” Piotrowski v.

 City of Houston, 237 F.3d 567, 579 (5th Cir. 2001) (quoting Webster v. City of Houston, 735

 F.2d 838, 841 (5th Cir. 1984)). Finally, a single incident or decision may satisfy the

 deliberate-indifference standard where the constitutional harm was a “plainly obvious

 consequence of the actor’s single decision.” Liggins, 52 F.4th at 955. The FCR

 recommends dismissal because Royal has failed to (1) allege a widespread practice of using

 excessive force, (2) plead facts supporting the single-decision exception, and (3) allege that

 the City ratified an extreme use of excessive force. Dkt. No. 65 at 17–20.


                                              –7–
Case 5:23-cv-00214-H-BV        Document 74       Filed 02/25/25      Page 8 of 14     PageID 766



        Regarding widespread practice, the FCR determined that Royal failed to identify any

 such practice based on two dissimilar incidents in which the City allegedly used excessive

 force. See Dkt. No. 65 at 17. Royal does not contest this determination and, in fact, agrees

 that his municipal-liability claim “derive[s] from an isolated incident.” Dkt. No. 68 at 18.

 Having reviewed the widespread-practice finding for plain error and finding none, the Court

 adopts the FCR’s findings and conclusions on that issue.

        Regarding the single-decision exception, Royal objects that “[e]vidence exists that

 shooting at suspect and directing officers to light him up could be construed as a deliberate

 indifference [sic].” Dkt. No. 68 at 19. Royal further asserts that he “was no imminent

 threat to others,” that he “was unarmed,” and that “[n]o exigent circumstances existed to

 justify helicopters and glass breaker bullets.” Id. As the FCR thoroughly addressed, when

 officers must make quick decisions regarding how to intervene with an individual acting

 erratically and endangering himself—for example, shooting an unarmed suspect suffering a

 “mental breakdown” when he reached for a cell phone—the officers’ actions do not

 “evidence an intentional ignorance of all the associated risks” sufficient for a

 municipal-liability claim to survive dismissal. Liggins, 52 F.4th at 954, 956. Here, even

 accepting that Royal was unarmed, Royal had fled the scene of an immediately prior arrest,

 used his vehicle to commit aggravated assault against a police officer, stolen a tractor and

 driven it into a moat, and repeatedly denied police orders. See Dkt. No. 65 at 18. Royal’s

 allegations fail to plead any facts that “evidence an intentional ignorance” of the risks to

 Royal’s Fourth Amendment rights. See Liggins, 52 F.4th at 956; see also Dkt. No. 65 at 18–

 19. This objection is therefore overruled.




                                              –8–
Case 5:23-cv-00214-H-BV        Document 74        Filed 02/25/25      Page 9 of 14      PageID 767



        Next, regarding ratification, Royal notes that the ratification theory is limited to

 “extreme factual situations” but argues that he has “pled ‘extreme’ [facts]” to support the

 theory. Dkt. No. 68 at 20 (citations omitted). Other than Royal’s contention that the

 circumstances he has pled are extreme, he provides no argument, instead repeating the

 FCR’s determination that the circumstances alleged are not sufficiently extreme and require

 dismissal. See Dkt. No. 68 at 20–21. But even taking this mere disagreement with the FCR

 as an objection, Royal’s allegations are insufficient to state a municipal-liability claim based

 on ratification for the same reasons explained in detail in the FCR. See Dkt. No. 65 at 19–

 20. As explained by the Fifth Circuit in Peterson, ratification is limited to “extreme factual

 situations.” 588 F.3d at 848 (quoting Snyder v. Trepagnier, 142 F.3d 791, 798 (5th Cir.

 1998)). For instance, the Fifth Circuit held that ratification does not apply in a case “in

 which [an] officer shot [a] fleeing suspect in the back.” Id. (citing Synder, 142 F.3d at 798).

 In addition, ratification “does not stand for the broad proposition that” an official policy

 exists “if a policymaker defends his subordinates and if those subordinates are later found to

 have broken the law.” Id.

        Here, Royal asserts only that the City did not discipline the officers that used force

 during Royal’s arrest. Dkt. No. 45 at 12–13. This allegation lacks sufficient factual support

 for Royal’s assertion of ratification and does not present the kind of extreme conduct

 required for ratification. See Peterson, 588 F.3d at 848; Synder, 142 F.3d at 798; see also Dkt.

 No. 65 at 19–20. Accordingly, the Court overrules Royal’s objection regarding ratification.

                ii.    Royal’s objection that he has stated a claim based on a failure to
                       train or supervise is overruled.

        In addition to adequately alleging a policy of excessive force, a plaintiff may state a

 municipal-liability claim by pleading that “(1) the city failed to train or supervise the officers


                                               –9–
Case 5:23-cv-00214-H-BV         Document 74        Filed 02/25/25      Page 10 of 14       PageID 768



  involved; (2) there is a causal connection between the alleged failure to supervise or train

  and the alleged violation of the plaintiff’s rights; and (3) the failure to train or supervise

  constituted deliberate indifference to the plaintiff’s constitutional rights.” Edwards v. City of

  Balch Springs, 70 F.4th 302, 312 (5th Cir. 2023) (internal quotation marks omitted) (quoting

  Peña, 879 F.3d at 623). To adequately support a failure-to-train claim, “a plaintiff must

  allege with specificity how a particular training program is defective.” Id. (quoting

  Trammell, 868 F.3d at 345).

         The FCR recommends dismissal of Royal’s claims based on a failure to train and

  supervise because (1) Royal failed to plead facts showing the deficiencies in the City’s

  training and (2) Royal’s claim relies on a single incident of alleged misconduct that does not

  satisfy the single-incident exception. Dkt. No. 65 at 21–23. Royal objects that requiring

  him to “plead facts showing the deficiencies in the City’s training is illogical[,] for there was

  no training with regard to mental illness.” Dkt. No. 68 at 21 (emphasis omitted).

         As the FCR explains, Royal’s third amended complaint lacks sufficient factual

  allegations to state a claim for relief. Royal’s complaint asserts that the City failed to

  “properly train or supervise members of the Snyder Police Department not to use

  intermediate or deadly force against an individual who does not place the officer or another

  at risk of imminent serious bodily injury or death” and failed to “train officers on

  responding to mental health crises.” Dkt. No. 45 at 12–13. But “a plaintiff must allege with

  specificity how a particular training program is defective.” Zarnow v. City of Wichita Falls,

  614 F.3d 161, 170 (5th Cir. 2010) (quoting Roberts v. City of Shreveport, 397 F.3d 287, 293 (5th

  Cir. 2005)). Royal’s complaint provides his proffered conclusion that the City’s training is

  inadequate, but he provides no factual allegations alleging what those inadequacies are.



                                                – 10 –
Case 5:23-cv-00214-H-BV         Document 74       Filed 02/25/25      Page 11 of 14       PageID 769



  Contrary to Royal’s assertion that it is “illogical” to require him to plead how the City’s

  training was deficient, Fifth Circuit precedent requires a plaintiff to do just that, with

  specificity. Id.; see also Dkt. No. 65 at 21–22. The Court thus overrules Royal’s objection.

         C.      Royal fails to state a claim under the ADA.

         To state a viable claim for disability discrimination under the ADA, the plaintiff

  must allege, and ultimately show, that (1) “he is a qualified individual within the meaning

  of the ADA,” (2) the public entity is excluding him “from participation in, or” denying him

  the “benefits of, services, programs, or activities for which the public entity is responsible,

  or” the entity is otherwise discriminating against him, and (3) “that such exclusion, denial

  of benefits, or discrimination is by reason of his disability.” Windham v. Harris County, 875

  F.3d 229, 235 (5th Cir. 2017) (quoting Melton v. Dall. Area Rapid Transit, 391 F.3d 669, 671–

  72 (5th Cir. 2004)).

         A plaintiff may satisfy the third element by alleging that the public entity failed to

  accommodate, under which theory a plaintiff must allege that “(1) he is a qualified

  individual with a disability; (2) the disability and its consequential limitations were known

  by the covered entity; and (3) the entity failed to make reasonable accommodations.” Sligh

  v. City of Conroe, 87 F.4th 290, 304 (5th Cir. 2023) (quoting Ball v. LeBlanc, 792 F.3d 584, 596

  n.9 (5th Cir. 2015)). Ordinarily, a plaintiff may satisfy this theory by alleging that he

  identified his disability and its resulting limitations and requested an accommodation “in

  direct and specific terms.” Id. If a plaintiff does not so directly request an accommodation,

  then he must plead sufficient factual matter to support that “the disability, resulting

  limitation, and necessary reasonable accommodation were open, obvious, and apparent.”

  Id. (cleaned up).




                                                – 11 –
Case 5:23-cv-00214-H-BV         Document 74       Filed 02/25/25      Page 12 of 14      PageID 770



         Royal challenges the FCR’s determination that he has pled insufficient facts to

  support an inference that the City discriminated against him on the basis of disability. First,

  Royal argues that the officers had interacted with Royal in the past and therefore “were

  aware of his mental history.” Dkt. No. 68 at 12. Royal similarly argues that the officers

  were on notice of a mental-health condition because Royal “requested an accommodation

  or identified his disability and resulting limitations when he called 911 while he was trapped

  in his car.” Dkt. No. 68 at 12; see also id. at 26. Royal asserts that the 911 call during the

  daytime evading put the officers on notice of his disability, such that his disability and his

  need for accommodation were “open, obvious, and apparent” by the time of the nighttime

  evasion. Id. at 12–13. Her further asserts that the 911 call Royal made “while he was being

  attacked by police . . . can be construed as his attempts to request accommodation.” Id. at

  26.

         Regarding the argument that Royal’s 911 call disclosed his disability and “can be

  construed as his attempts to request accommodation,” Royal provides no authority to

  support his assertion. See Dkt. No. 68 at 12, 26. Moreover, even taking as true his

  allegation that officers knew of the his mental-health issues, the plaintiff must still have

  requested an accommodation “in direct and specific terms.” Sligh, 87 F.4th at 304 (quoting

  Smith v. Harris County, 956 F.3d 311, 317 (5th Cir. 2020)). Royal’s complaint contains no

  factual allegations regarding how statements made during the 911 call would have

  constituted a request for an accommodation, much less how any request was direct and

  specific. See Dkt. No. 45 at 18, 21.

         In addition, Royal’s allegations lack sufficient facts to plead that his proposed

  accommodations were open, obvious, and apparent. Royal asserts that his proposed



                                               – 12 –
Case 5:23-cv-00214-H-BV         Document 74       Filed 02/25/25      Page 13 of 14       PageID 771



  reasonable accommodations, such as “talking calmly” and admitting Royal to a mental

  hospital rather than a jail, “were open, obvious, and apparent” because the officers were

  aware of Royal’s mental disability. See Dkt. No. 68 at 13. Even accepting that the officers

  were aware of Royal’s mental disability, though, that does not support an inference that

  Royal’s “limitations [or his] . . . specific desired accommodations were open, obvious, and

  apparent under the given facts,” where Royal had was evading arrest, refusing to comply

  with officers’ orders, and had committed aggravated assault on the officers. Sligh, 87 F.4th

  at 305; see also Dkt. Nos. 45 at 4, 7–9; 65 at 5, 27–28. Indeed, even when officers are aware

  of a mental disability, “when dealing in the amorphous world of mental disability,” it is

  often “impossible” to identify the specific disability, accompanying limitations, and

  reasonable accommodations. Choi v. Univ. of Tex. Health Sci. Ctr. at San Antonio, 633 F.

  App’x 214, 216 (5th Cir. 2015); see also Dkt. No. 65 at 27–28.

         Moreover, even if Royal had pled a viable ADA claim, the exigent-circumstances

  exception would mandate dismissal. This doctrine “forclose[s] ADA claims where police

  officers face exigent circumstances.” Winder v. Gallardo, 118 F.4th 638, 647 (5th Cir. 2024).

  Such exigent circumstances include “an officer’s on-the-street responses to reported

  disturbances or other similar incidents . . . prior to the officer’s securing the scene and

  ensuring that there is no threat to human life,” regardless of whether the call “involve[s]

  subjects with mental disabilities.” Hainze v. Richards, 207 F.3d 795, 801 (5th Cir. 2000).

  Here, even accepting Royal’s argument that the officers knew or should have known that

  Royal was having delusions and was requesting an accommodation, Royal’s allegations also

  show that he refused to comply with officers’ orders, fled the scene in his car during the

  traffic stop, and was behaving erratically. See Dkt. No. 45 at 4, 7–9; see also Dkt. No. 65 at



                                                – 13 –
Case 5:23-cv-00214-H-BV       Document 74      Filed 02/25/25     Page 14 of 14        PageID 772



  18. Because the officers were attempting to secure the scene and dealing with a suspect that

  was refusing to comply and evading police orders, those exigent circumstances foreclose

  Royal’s ADA claim. See Hainze, 207 F.3d at 801. Accordingly, the Court adopts in full the

  FCR’s recommendation to dismiss Royal’s ADA claim against the City and Chief Haggard.

  See Dkt. No. 65 at 29.

  4.     Conclusion

         The Court overrules the defendant’s objections (Dkt. No. 68) and adopts the FCR

  (Dkt. No. 65) as the findings of this Court. Accordingly, the Court grants the City and

  Chief Haggard’s motion to dismiss (Dkt. No. 51) and dismisses with prejudice the plaintiff’s

  claims against the City and Chief Haggard. In addition, the Court denies as moot the City

  and Chief Haggard’s motion for a protective order to stay discovery (Dkt. No. 53).

         So ordered on February 25, 2025.



                                                JAMES WESLEY HENDRIX
                                                UNITED STATES DISTRICT JUDGE




                                             – 14 –
